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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                             )
 J.G.G., et al.,                             )        Civil Action No. 1:25-cv-00766
                                             )
               Plaintiffs-Petitioners,       )
                                             )
 v.                                          )
                                             )
 DONALD J. TRUMP, in his official            )
 capacity as President of the United States, )
 et al.,                                     )
                                             )
               Defendants-Respondents.       )
                                             )

                        NOTICE IN RESPONSE TO COURT ORDER

        In yesterday’s 6:47 PM minute order, the Court ordered the Government to provide a sworn

declaration on two points: the timing of the Proclamation and the fact that no individual removable

under the Proclamation was removed from the United States after the Court’s order at 7:25 PM

EDT on March 15, 2025. That declaration is attached. The declaration also addresses a third issue

the Court inquired about: estimates as to the number of individuals subject to the Proclamation.

        The Court also ordered the Government to address the form in which it can provide further

details about flights that left the United States before 7:25 PM. The Government maintains that

there is no justification to order the provision of additional information, and that doing so would

be inappropriate, because even accepting Plaintiffs’ account of the facts, there was no violation of

the Court’s written order (since the relevant flights left U.S. airspace, and so their occupants were

“removed,” before the order issued), and the Court’s earlier oral statements were not independently

enforceable as injunctions. The Government stands on those arguments. Moreover, given that the

Government’s motion for a stay remains pending before the D.C. Circuit, the Government should

not be required to disclose sensitive information bearing on national security and foreign relations



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until that motion is resolved, especially given that this information is neither material nor time-

sensitive. If, however, the Court nevertheless orders the Government to provide additional details,

the Court should do so through an in camera and ex parte declaration, in order to protect sensitive

information bearing on foreign relations.

                                                     Respectfully Submitted,

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